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                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   Case No.: 17-cv-24666-UU
  MARCO WATTS,

          Plaintiff,
  v.

  CLUB MADONNA, INC., a Florida for-profit
  corporation, and LEROY C. GRIFFITH,

        Defendants.
  _____________________________/

                       DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S MOTION
                           FOR COSTS AND ATTACHED BILL OF COSTS

          Defendants, CLUB MADONNA, INC. and LEROY C. GRIFFITH (collectively, the

  “Defendants”) by and through their undersigned counsel, hereby file their objections to Plaintiff,

  MARCO WATTS’ (“Plaintiff”), Motion for Costs and Attached Bill of Costs [D.E. 102], and state

  as follows:

                                             Introduction

       Plaintiff has moved for costs as a prevailing party pursuant to 28 U.S.C. § 1920, Fed. R. Civ.

  P. 54(d), and S.D. Fla. L.R. 7.3(c) and seeks an Order taxing costs against the Defendants in the

  amount of $4,212.94. As an initial matter, Defendants submit that they defended this action in

  good faith and as expeditiously as possible. Furthermore, Defendants contend that they had

  meritorious defenses to Plaintiff’s claims in this lawsuit and were entirely foreclosed from

  asserting such defenses due to the Court’s Order granting Partial Summary Judgment in favor of

  Plaintiff [D.E. 65], which essentially amounted to a default judgment against Defendants on the

  issue of liability. On September 4, 2018, Defendants filed a timely Notice of Appeal [D.E. 101],

  and this matter is currently the subject of a pending appeal before the United States Court of

  Appeals for the Eleventh Circuit. Given the pending appeal before the Eleventh Circuit,


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  Defendants assert that, even if the court were inclined to award costs to Plaintiff, such costs are

  not properly taxable at this time.

     Accordingly, Defendants assert that Plaintiff’s entire petition for costs should be denied.

  Alternatively, at a minimum, any ruling by this Court should be reserved pending the outcome of

  the appeal pending before the Eleventh Circuit. If, arguendo, this Court finds that the

  aforementioned considerations do not entirely preclude an award of costs to Plaintiff at this time,

  Defendants also object to several of the individual components of the award sought by Plaintiff,

  and assert that any award of costs to Plaintiff should be reduced accordingly, as set forth below.

                                        Memorandum of Law

         Costs should not be taxed before the Defendants’ appeal is decided. See e.g., Kiska Constr.

  Corp.-USA v. Wash. Metro. Area Transit Auth., Docket No. 97-2677, 2002 U.S. Dist. LEXIS 4116

  (D.D.C. March 11, 2002); Interactive Picture Corp. v. Infinite Pictures, Inc., Docket No. 3:96-cv-

  849, 2002 U.S. Dist. LEXIS 828 (E.D. Tenn. Jan. 3, 2002); Brown v. American Enka Corp., 452

  F. Supp. 154, (E. D. Tenn. 1976); American Infra-Red Radiant Co. Inc. v. Lambert Industries,

  Inc., 41 F.R.D. 161, 163 (D. Minn. 1966). Courts have recognized that taxing costs against a party

  before the party's appeal is decided wastes valuable judicial resources, and poses the possibility

  that should a party prevail on appeal, they may lose their right to later seek costs as the prevailing

  party. See Kiska Construction, supra.

         Because the underlying matter is presently on appeal before the Eleventh Circuit, this Court

  should utilize its discretion and reserve any ruling on Plaintiff’s Motion for Costs pending the

  outcome of the appellate proceedings. This action promotes judicial economy and efficiency and

  protects Defendants’ interests pending the outcome of the appeal.

                                 Arguments & Itemized Objections

  A. Fees of the Court Reporter
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  a. Plaintiff seeks $661.80 for the “Deposition Ind Griffith”, in connection with costs allegedly

     incurred by Plaintiff in taking the deposition of Defendant Griffith in his capacity as an

     individual Defendant in this case. With respect to the itemized bill for said deposition,

     Defendants specifically object to the costs of $16.00 for a condensed transcript and $30.00 for

     a digital transcript. These copies of the deposition were not “necessarily obtained for use in

     this case” under Rule 54 and the burden of their costs should not be placed on the Defendants.

     Consequently, Defendants object to being taxed costs for these unnecessary copies of the

     deposition.

  b. Plaintiff seeks $731.15 for the “Deposition Corp Rep Corvea”, in connection with costs

     allegedly incurred by Plaintiff in taking the deposition of Joseph Corvea in his capacity as

     corporate representative for Club Madonna, Inc. With respect to the itemized bill for said

     deposition, Defendants specifically object to the costs of $16.00 for a condensed transcript and

     $30.00 for a digital transcript. These copies of the deposition were not “necessarily obtained

     for use in this case” under Rule 54 and the burden of their costs should not be placed on the

     Defendants. Consequently, Defendants object to being taxed costs for these unnecessary copies

     of the deposition.

  c. Plaintiff seeks $386.50 for the “Deposition Ind Chiusano”, in connection with costs allegedly

     incurred by Plaintiff in taking the deposition of Bruce Chiusano in his individual capacity.

     With respect to the itemized bill for said deposition, Plaintiff seeks $16.00 for a condensed

     transcript and $30.00 for a digital transcript. These copies of the deposition were not

     “necessarily obtained for use in this case” under Rule 54 and the burden of their costs should

     not be placed on the Defendants. Consequently, Defendants object to being taxed costs for

     these unnecessary copies of the deposition.

  d. Plaintiff seeks $782.50 for the “Deposition Ind Corvea”, in connection with costs allegedly
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     incurred by Plaintiff in taking the deposition of Joseph Corvea in his individual capacity. A

     review of the itemized $782.50 bill referenced by Plaintiff reveals that this amount includes at

     least $290.00 in costs for the deposition of a witness named Mike Kalbach, while $492.50

     appears to be assessed for the deposition of Corvea. Furthermore, the entirety of the court

     reporter’s hourly appearance fee appears to be assessed to Corvea, even though a deposition

     of Mike Kalbach was also taken.

        Defendants object to being taxed any costs incurred in connection with the deposition of

     Mike Kalbach, as Kalbach was a superfluous witness whose testimony was not necessarily

     obtained for use at trial. Indeed, Plaintiff did not rely upon any of Kalbach’s deposition

     testimony in his Motion for Partial Summary Judgment, and Defendants clearly informed the

     Court that they did not expect to call Kalbach as a witness at trial when the parties appeared

     before the Court for Pretrial Conference on July 13, 2018.

        Defendants also fully object to the $492.50 in costs for the deposition of Corvea in his

     individual capacity, as the deposition was duplicative of the deposition testimony Plaintiff

     obtained from Corvea in his capacity as Corporate Representative of Club Madonna, Inc.

     Indeed, this deposition was not “necessarily obtained for use in this case”, as Plaintiff’s Motion

     for Partial Summary Judgment cited only to the deposition of Corvea in his capacity as

     corporate representative of Club Madonna, Inc., and did not include the deposition of Corvea

     in his individual capacity. Furthermore, Defendants object to the $492.50 in costs for the

     deposition of Corvea to the extent that any of said amount is improperly itemized and

     attributable to the hourly appearance fee incurred for the deposition of Kalbach. Finally,

     Defendants specifically object to the two (2) itemized charges of $35 each for “Litigation

     Support Packages” ordered by Plaintiff in connection with the depositions of Corvea and

     Kalbach, respectively. Plaintiff has made no showing as to what exactly a “Litigation Support
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     Package” is, and it cannot be said that they were “necessarily obtained for use in this case.”

  e. Plaintiff seeks $358.75 for the “Deposition Corp Rep Griffith”, in connection with costs

     allegedly incurred by Plaintiff in taking the deposition of Defendant Griffith in his capacity as

     a corporate representative for Club Madonna, Inc. With respect to the itemized bill for said

     deposition, Defendants specifically object to the $35.00 charge for the “Litigation Support

     Package” as not “necessarily obtained for use in this case” or otherwise taxable under Rule

     54.

  B. Costs for Service of Process

  f. Plaintiff seeks $80.00 for “Subpoena Service Wolfe”, in connection with $40.00 in costs

     ostensibly incurred for service of a subpoena on Richard Wolfe, Esq., with an additional $40.00

     rush fee. Defendants note that it is not clear exactly why there was a rush fee for this expense

     and contend that Plaintiff has made no showing that such a fee was necessary or should be

     deemed taxable. Indeed, the amount in question is higher than the reasonable and customary

     charge for a subpoena, and Plaintiff’s award should be limited to that amount. Consequently,

     even assuming this Court finds this expense was necessary, any award to Plaintiff should be

     reduced accordingly.

  C. Photocopy Costs

  g. Plaintiff seeks $572.47 for “3013 copies for trial” and $41.80 for “220 copies for court

     appearances”. The burden is on the prevailing party to establish the nature of the documents

     and how they were used and intended to be used in the case. Plaintiff has failed to provide

     sufficient information, including information necessary to determine whether the listed costs

     were “necessarily obtained” for use in the case, what was copied, or for whom or what purpose

     each copy was made. See 28 U.S.C.A. § 1920(4). Further Plaintiff provides no explanation or

     justification as to why 220 copies of documents were necessary for the few, brief and basic
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     court appearances made in this case, or for how 3013 copies of documents was possibly

     necessary for trial of this relatively simple FLSA matter. As a result, Plaintiff should not be

     permitted to recover these requested costs.

  h. Plaintiff seeks $127.97 for “Fedex/Kinkos Fee for Examplar For Use at Trial”. The burden is

     on the prevailing party to establish the nature of the documents and how they were used and

     intended to be used in the case. Plaintiff has failed to provide sufficient information, including

     information necessary to determine whether the listed costs were “necessarily obtained” for

     use in the case. See 28 U.S.C.A. § 1920(4). The documentation provided by Plaintiff does not

     contain the necessary explanations nor does it even explain the nature of the “Examplar” to

     allow one to determine whether it falls within the rule of taxable costs or whether or which

     ones were made for the convenience of counsel and are nontaxable. As a result, Plaintiff should

     not be permitted to recover these requested costs.

     WHEREFORE, Defendants ask this Court to deny Plaintiff’s bill of costs in its entirety, or

  reduce it to an amount that this Court finds appropriate and for such further relief as this Court

  deems just.

         Dated this 19th day of September, 2018.

                                Respectfully submitted,

                                s/Robert L. Switkes, Esq.
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 19th day of September, 2018, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified on the

  attached Service List in the manner specified, either via transmission of Notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

  are not authorized to receive electronically Notices of Electronic Filing.

                                                               s/Robert L. Switkes




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                                         SERVICE LIST
                               Watts v. Club Madonna, Inc., et al.
                     United States District Court, Southern District of Florida
                                   Case No. 17-cv-24666-UU

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